Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 1 of 23        PageID #: 706




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
        v.                             )       1:12-cr-00160-JAW
                                       )
MALCOLM A. FRENCH, et al.              )


     ORDER ON GOVERNMENT’S MOTION IN LIMINE RE: ADMISSIBILITY
                OF DEPOSITION OF MARTIN ROBLERO

        Concluding that the Government failed to demonstrate that an earlier-

deposed but now deported alien witness is “unavailable” under the constraints of

the Confrontation Clause and Federal Rule of Evidence 804(b)(1), the Court denies

the Government’s motion to introduce a videotape of his testimony in lieu of his live

testimony in a criminal jury trial.

I.      STATEMENT OF FACTS

        In accordance with a Court Order dated May 8, 2013, Martin Roblero, a

Government witness, testified by videotaped deposition on May 14, 2013. Order

Overruling Malcolm French’s Objection to the Magistrate Judge’s Order Regarding

Dep. (ECF No. 142).     At the time of his testimony, Mr. Roblero was an illegal

Mexican alien, had served a state of Indiana sentence for child molestation, and was

subject to deportation from the United States. Id. at 3. After the Government

contended that Mr. Roblero was a significant cooperating witness, who was likely to

be deported from the United States during trial, the Court authorized the taking of

Mr. Roblero’s deposition under Federal Rule of Criminal Procedure 15, but observed



                                           1
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 2 of 23         PageID #: 707




that it was not then addressing its admissibility. Id. at 12-17. Mr. Roblero has now

been deported and the Government anticipates he will not be available for trial. Id.

at 1.

        Trial is looming. Jury selection is scheduled for January 8, 2013 and trial

will proceed immediately thereafter.      Seeking to admit the Roblero videotape

deposition, the Government filed a motion in limine on December 6, 2013.       Gov’t’s

Mot. in Limine Re: Admissibility of Dep. of Martin Roblero (ECF No. 208) (Gov’t’s

Mot.). On December 16, 2013, Malcolm French objected to the admission of the

Roblero deposition.   Def. Malcolm French’s Opp’n to Gov’t’s Mot. in Limine Re:

Admissibility of Dep. of Martin Roblero (ECF No. 211) (French Opp’n).             On

December 20, 2013, Haynes Timberland, Inc. joined in Mr. French’s objection and

presented its own argument in opposition. Def. Haynes Timberland, Inc.’s Opp’n to

Gov’t’s Mot. in Limine Re: Admissibility of Dep. of Martin Roblero (ECF No. 213)

(Haynes Opp’n). On December 23, 2013, Rodney Russell joined in the arguments of

both Mr. French and Haynes Timberland. Def. Russell’s Opp’n to Gov’t’s Mot. in

Limine Re: Admissibility of Dep. of Martin Roblero (ECF No. 238). On December

24, 2013, the Government replied. Gov’t’s Reply to Defs.’ Objection to Gov’t’s Mot. in

Limine Re: Admissibility of Dep. of Martin Roblero (ECF No. 239) (Gov’t Reply). On

December 27, 2013, Kendall Chase filed a notice, confirming that he has no




                                          2
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 3 of 23                    PageID #: 708




objection to the admission of the Roblero deposition. Notice of Def., Kendall Chase,

Not to Oppose Roblero Dep., Mot. in Limine Req. by Gov’t (ECF No. 242).1

II.    POSITIONS OF THE PARTIES

       A.      The Government’s Motion

       In its motion in limine, the Government confirms that, after his May 14, 2013

testimony, Mr. Roblero was in fact deported to Mexico on June 13, 2013 as a result

of his commission of an aggravated felony. Gov’t’s Mot. at 1-2 & n.2. Counsel for

the Government, Assistant United States Attorney (AUSA) Joel Casey, says that

before Mr. Roblero was deported, AUSA Casey corresponded with an attorney in the

Department of Homeland Security (DHS) to determine whether Mr. Roblero’s

deportation could be delayed. Id. at 2. Based on the DHS attorney’s response,

AUSA Casey formally requested that DHS defer deportation. Id. On May 17, 2013,

DHS denied AUSA Casey’s request for deferral because of Mr. Roblero’s “recent and

serious criminal conviction.” Id. Attach. 3 Letter from Michael Lana, Resident Agent

in Charge, U.S. Immigration and Customs Enforcement, U.S. Dep’t of Homeland

Security at 1 (May 17, 2013) (Lana Letter).

       The Government emphasizes that before he was deported, it served Mr.

Roblero with a subpoena requiring his attendance at trial, which was then set to

begin on September 4, 2013. Gov’t’s Mot. at 2. The Government says that it gave

Mr. Roblero detailed instructions in Spanish on “how, when and where to parole

back in the [C]ountry to appear at trial” and reserved a plane ticket for him to fly

1       Robert Berg is also a Defendant; however, counsel informed the Court that he intends to
enter a plea of guilty and the Rule 11 hearing on the guilty plea has been scheduled for January 7,
2014.

                                                3
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 4 of 23         PageID #: 709




from Mexico to the United States. Id. The Government also provided Mr. Roblero

with a letter from the federal prosecuting attorney to be presented to the first

immigration officer that Mr. Roblero encountered on his return to the United

States. Id. Finally, the Government obtained contact information in Mexico from

Mr. Roblero.    Id.   The Government says that after the case was continued to

January, 2014, it attempted to contact Mr. Roblero in Mexico but has been unable to

do so. Id. at 2-3.

       In these circumstances, the Government maintains that Mr. Roblero is

“unavailable” under Federal Rule of Evidence 804(b)(1) and his deposition should be

admitted. Id. at 3. It recites its efforts to present Mr. Roblero as a live witness at

trial, including its request to DHS and its instructions to Mr. Roblero upon

deportation about returning for trial. Id. at 4. Anticipating that the defense might

argue that it should have used a material witness warrant, the Government sees “a

couple problems with this argument.” Id. at 4-5. First, the Government points out

that a material witness subpoena was available to the Defendants. Id. Second, the

Government observes that even if it had obtained a material witness warrant, Mr.

Roblero would at most have been detained until September 2013, when trial was

originally scheduled, not until January 2014, when it is being reached. Id.

       The Government contends that the second prong of admissibility under Rule

804(b)(1)—similar motive and opportunity to develop the challenged testimony—

has been satisfied in this case by the circumstances of the Rule 15 deposition in this




                                          4
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 5 of 23           PageID #: 710




case. Id. at 6-7. The Government says that these circumstances also satisfy the

Defendants’ Confrontation Clause rights. Id.

       B.     Malcolm French’s Opposition

       Mr. French objects to the admission of Mr. Roblero’s videotape deposition.

French Opp’n at 1-9.       First, Mr. French argues that the Government failed to

exhaust all reasonable efforts to assure Mr. Roblero’s availability for trial. Id. at 3-

6. Next, Mr. French maintains that he did not have the opportunity to question Mr.

Roblero about possible issues of witness collusion and therefore his rights under the

Confrontation Clause would be violated with the admission of the Roblero

deposition. Id. at 6-9.

       Regarding the first argument, Mr. French relies on the First Circuit case of

United States v. Mann, 590 F.2d 361 (1st Cir. 1978), for his contention that the

Government must engage in more than “perfunctory efforts” to obtain the absent

witness’s appearance. Id. at 3-4. Mr. French criticizes the Government’s efforts as

too late and too little.    Id.   He observes that the DHS agent who denied the

Government’s request for a stay of deportation recommended to the prosecutor that

the Government obtain a material witness warrant, but the Government made no

effort to do so. Id.

       Next, Mr. French also points out that the legal problems associated with

detaining a witness who has not been charged with a crime are problems of the

Government’s own making. Id. at 5. He observes that the Government elected not

to charge Mr. Roblero, and in fact gave him immunity in exchange for his testimony.



                                           5
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 6 of 23         PageID #: 711




Id. If the Government had not done so, it could have sought to hold Mr. Roblero

under the provisions of pre-trial detention law. Id. Moreover, Mr. French notes

that the Government failed to make any provision in its immunity agreement with

Mr. Roblero that would have required him to remain in the United States and make

himself available for trial.   Id.   Indeed, Mr. French says that Mr. Roblero’s

immunity agreement provided for his prompt deportation. Id.

      Finally, Mr. French contends that the Government could have, but failed to,

keep Mr. Roblero in the United States for trial under 8 C.F.R. § 215.1, et seq. Id. at

6. This regulation allows the Government to prevent the deportation of an alien

whose departure would be deemed prejudicial to the interests of the United States,

including “an alien who is needed in the United States as a witness in . . . any

criminal case . . . pending in a court in the United States.” Id. (quoting 8 C.F.R. §

215.3).

      Regarding the Confrontation Clause issue, Mr. French says that during an

interview with the Government before his Rule 15 deposition, Mr. Roblero told the

Government that Moises Soto, a co-defendant, approached him about Mr. Roblero’s

testimony. Id. at 7.   Mr. French says that, like Mr. Roblero, Mr. Soto had entered

into an agreement with the Government to testify against the remaining

Defendants. Id. Mr. French contends that he is entitled—after Mr. Soto testifies—

to cross-examine Mr. Roblero about what was said between Mr. Soto and himself

and whether further statements were made between Mr. Soto and Mr. Roblero or

other witnesses. Id.   Finally, Mr. French observes that this is a “complex, multi-



                                          6
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 7 of 23        PageID #: 712




defendant, drug conspiracy case” and he contends that his inability to confront a

key cooperating Government witness in front of the jury deprives him of a fair trial.

Id.

       C.    Haynes Timberland’s Opposition

       Haynes Timberland, a Co-defendant, also objected to the admission of Mr.

Roblero’s Rule 15 videotape deposition at trial.    Haynes Opp’n at 1-2.     Haynes

Timberland echoes many of Mr. French’s concerns: (1) whether the Government

made a “good faith effort to procure” Mr. Roblero at trial; (2) the Government’s

failure to issue a material witness subpoena; (3) the Government’s grant of

immunity and “quick deportation” of Mr. Roblero; and (4) the implications from the

cooperation of Moises Soto after Mr. Roblero’s deposition. Id. at 1-4. Like Mr.

French, Haynes Timberland argues that “[a] videotape made 8 months prior to trial

is no substitute for testing the veracity of witnesses appearing live before a jury.”

Id. at 2.

       D.    The Government’s Reply

       Responding to Mr. French’s argument that the Government should have done

more to retain Mr. Roblero in the United States, the Government defends its efforts,

noting that “[t]he steps the Government took to preserve Mr. Roblero’s testimony

and secure his appearance at trial are consistent with those suggested by the

authority cited by the Government in its motion.”         Gov’t’s Reply at 1.    The

Government rankles at Mr. French’s suggestion that its immunity agreement with

Mr. Roblero deprived the Government of the ability to charge Mr. Roblero and



                                         7
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 8 of 23        PageID #: 713




thereby make him available to testify at the upcoming trial.       Id. at 1-2.    The

Government lays the blame for its inability to prosecute Mr. Roblero at the

Defendants’ doorstep, arguing that they “took steps to get Mr. Roblero and his co-

workers out of the woods and out of the state,” making prosecution more difficult.

Id. at 2. The Government disputes Mr. French’s reliance on 8 C.F.R. § 215.2 and §

215.3(g), contending that these regulations apply only to aliens seeking to depart

the United States voluntarily, not to deportation or removal cases like Mr.

Roblero’s. Id.   In fact, the Government observes that DHS decided to deport Mr.

Roblero before the Government identified him as a witness and before his grand

jury testimony, and therefore there could be no link between the deportation

decision and the Government’s actions here. Id. at 3. Finally, the Government

disagrees with Mr. French’s contention about his inability to cross-examine Mr.

Roblero about Mr. Soto, noting that the Government had given Mr. French

discovery about Mr. Soto and Mr. Roblero’s conversation before Mr. Roblero was

deposed. Id. at 3.

      Turning to Haynes Timberland’s arguments, the Government expresses

surprise that Haynes’ counsel would claim that he did not have an opportunity to

cross-examine Mr. Roblero about an alleged promise by the Government, when the

Government says that the transcript (which Haynes cites) reveals that Haynes’

counsel did cross-examine Mr. Roblero regarding this alleged promise. Id. at 4.




                                         8
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 9 of 23             PageID #: 714




III.   LEGAL STANDARDS

       A.      The Confrontation Clause and Rule of Evidence 804

       The Sixth Amendment of the United States Constitution provides:

       In all criminal prosecutions, the accused shall enjoy the right . . . to be
       confronted with the witnesses against him.

U.S. Const. amend. VI.       To comport with the Confrontation Clause, the United

States Supreme Court has required that for testimonial evidence to be admitted in a

criminal trial, “the Sixth Amendment demands what the common law required:

unavailability and a prior opportunity for cross-examination.”              Crawford v.

Washington, 541 U.S. 36, 68 (2004). Federal Rule of Evidence 804(b)(1) tracks these

constitutional requirements:

       The following are not excluded by the rule against hearsay if the
       declarant is unavailable as a witness:

       (1) Former Testimony. Testimony that:

            (A) was given as a witness at a trial, hearing, or lawful deposition, .
                . . given during the current proceeding . . . .; and
            (B) is now offered against a party who had . . . an opportunity and
                similar motive to develop it by . . . cross-. . . examination.

FED. R. EVID. 804(b)(1)(A), (B). Consistent with the constitutional requirements,

Rule of Evidence 804(b)(1) thus mandates that the witness be unavailable and that

the party against whom the evidence is being offered had an opportunity to cross-

examine the witness.

       B.       Unavailability

       Rule 804(a)(5) states:

       A declarant is considered unavailable as a witness if the declarant:
       ...

                                             9
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 10 of 23             PageID #: 715




       (5) is absent from the trial or hearing and the statement’s proponent
       has not been able, by process or other reasonable means, to procure:

              (A) the declarant’s attendance, in the case of a hearsay exception
                  under Rule 804(b)(1) or (6) . . . .

 FED. R. EVID. 804(a)(5). The advisory committee notes state that “[a]bsence from

 the hearing coupled with inability to compel attendance by process or other

 reasonable means also satisfies this requirement.”     Id. advisory committee note

 (1972). The advisory committee note also states that “[i]f the conditions otherwise

 constituting unavailability result from the procurement or wrongdoing of the

 proponent of the statement, the requirement is not satisfied.”        Id.     Here, the

 Defendants do not claim that Mr. Roblero is currently available for trial; Mr.

 Roblero is apparently in Mexico and the Defendants do not assert that the

 Government could now force him to appear as a witness at trial in the United

 States. Thus, under longstanding Supreme Court jurisprudence, Mr. Roblero’s prior

 testimony is potentially admissible because he is unavailable. Mattox v. United

 States, 156 U.S. 237, 240-50 (1895) (holding that prior trial testimony is admissible

 upon retrial if declarant becomes unavailable); United States v. Lombard, 72 F.3d

 170, 188-89 (1st Cir. 1995).

       But before prior testimony of an unavailable witness is admitted, the law

 requires more of the prosecution.     In 1895, the United States Supreme Court

 observed:

       The primary purpose of the [Confrontation Clause] . . . was to prevent
       depositions or ex parte affidavits, such as were sometimes admitted in
       civil cases, being used against a prisoner in lieu of a personal
       examination and cross-examination of the witness in which the

                                          10
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 11 of 23          PageID #: 716




       accused has an opportunity, not only of testing the recollection and
       sifting the conscience of the witness, but of compelling him to stand
       face to face with the jury in order that they may look at him, and judge
       by his demeanor upon the stand and the manner in which he gives his
       testimony whether he is worthy of belief.

 Mattox, 156 U.S. at 242-43. In recognition of this vital constitutional protection, in

 Barber v. Page, 390 U.S. 719 (1968), the United States Supreme Court held that “a

 witness is not ‘unavailable’ for purposes of the foregoing exception to the

 confrontation requirement unless the prosecutorial authorities have made a good-

 faith effort to obtain his presence at trial.” Id. at 724-25. In Ohio v. Roberts, 448

 U.S. 56 (1980), the Supreme Court reiterated this requirement: “The ultimate

 question is whether the witness is unavailable despite good-faith efforts undertaken

 prior to trial to locate and present that witness.” Id. at 74.

       The First Circuit considered this good faith requirement in United States v.

 Mann, 590 F.2d at 367-68. In Mann, the defendant and a 17 year old Australian

 woman, Joanne Lyndal Shine, arrived in San Juan on the same plane. Id. at 362.

 The authorities searched Ms. Shine and found eleven packages of cocaine taped

 inside her girdle; the defendant, who was also searched, was found not to possess

 any controlled substances. Id. After charges were dismissed against Ms. Shine, the

 Government moved and was granted the right to depose her, and the Government

 then presented Ms. Shine with her airplane tickets and passport. Id. Ms. Shine

 flew back to Australia and declined to honor the Government’s subpoena to return

 to Puerto Rico for trial. Id. The trial court admitted Ms. Shine’s deposition at trial

 over the objections of the defendant. Id.



                                             11
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 12 of 23           PageID #: 717




        The Mann Court set aside the defendant’s conviction. Id. at 368. The First

 Circuit noted that “[i]mplicit . . . in the duty to use reasonable means to procure the

 presence of an absent witness is the duty to use reasonable means to prevent a

 present witness from becoming absent.” Id. The First Circuit reviewed some of the

 Government’s options: (1) placing her in “lesser custody”; (2)              supplying

 “maintenance”; (3) retaining her passport and ticket; and (4) placing her under

 subpoena. Id. at 366. The Mann Court noted that the Government “failed even to

 extract a promise from [Ms. Shine] to return for trial.” Id. In its analysis, the First

 Circuit observed that Ms. Shine was “vital to the government’s case,” id. at 367, and

 that a “lesser effort might be reasonable where the testimony goes to minor,

 collateral or uncontested matters.” Id. at n. 6. In vacating the judgment, the First

 Circuit stressed that the Government’s efforts to secure the witness for trial must

 be “genuine and bona fide.” Id. at 367. Focusing on the language of Rule 805(a)(5),

 the First Circuit wrote that “‘other reasonable means’ besides subpoenas must be

 tried before a witness can be found unavailable.” Id. The Mann Court emphasized

 that “[t]his relatively high good faith standard cannot be satisfied by perfunctory

 efforts.” Id.

        In 1997, the First Circuit was again presented with the admissibility of a

 deposition of a witness at a criminal trial. United States v. McKeeve, 131 F.3d 1 (1st

 Cir. 1997). In McKeeve, a British shipping agent was a critical witness and initially

 agreed to attend trial in the United States. Id. at 7. But as trial approached, the

 witness had a “change of heart” and the Government moved to depose him in



                                           12
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 13 of 23          PageID #: 718




 England. Id. The witness’s deposition was subsequently read into evidence at trial.

 Id. at 7-8.   The McKeeve Court noted that although the prosecution’s efforts to

 secure the witness’s presence at trial “must be undertaken in good faith, they need

 not be heroic.”   Id. at 8.   The First Circuit wrote that the “standard test for

 unavailability is whether the witness’s attendance could be procured ‘by process or

 other reasonable means.’” Id. at 9 (quoting FED. R. EVID. 804(a))5)). The First

 Circuit concluded that “[w]e fail to discern any further action the prosecutor

 reasonably could have taken to bring the witness before the jury.” Id.

 IV.   DISCUSSION

       The Government lists its efforts to obtain Mr. Roblero’s attendance at trial:

 (1) requesting that DHS delay his removal from the United States; (2) prior to

 deportation, serving Mr. Roblero with a trial subpoena with detailed instructions in

 Spanish on “how, when and where to parole back into the [C]ountry to appear at

 trial”; and (3) reserving a plane ticket for Mr. Roblero to fly from Mexico to the

 United States together with a letter from the prosecutor that he was instructed to

 present to an immigration officer.     Gov’t’s Mot. at 2.    It is true that these

 prosecutorial efforts were more significant than the efforts in Mann. However, in

 the Court’s view, the Government has still failed to meet the “relatively high good

 faith standard.” Mann, 590 F.2d at 367.

       First, Mr. Roblero is a witness “vital to the government’s case”; under First

 Circuit law, the more vital the witness, the greater the Government’s burden. Id.

 Mr. Roblero testified that he worked at the marijuana grow operation in



                                           13
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 14 of 23         PageID #: 719




 Washington County that the Government has alleged the Defendants in this case

 ran. He said he was present not only during the operation itself but also the day

 the police arrived. Mr. Roblero identified some of the Defendants as the individuals

 with whom he had dealings while working at the marijuana grow operation.

        Second, the Defendants dispute Mr. Roblero’s credibility.       During cross-

 examination at his deposition, Mr. Roblero admitted that he had lied many times to

 the police during both his first and second law enforcement interviews. He also

 admitted that he was convicted in Indiana of child molestation.            In these

 circumstances, in person testimony before the jury is more critical.

        Third, unlike McKeeve and like Mann, Mr. Roblero was in Government

 custody and it was the Government that let him go. In fact, the Government forced

 him out. It is correct that the arm of the Government that deported him, the DHS,

 is not the arm of the Government prosecuting this case, the Department of Justice

 (DOJ)—but these are both agencies within the Executive Branch of the United

 States Government. The Court acknowledges that the DOJ does not control the

 DHS. See Order at 4 (ECF No. 114) (“The question of the witness’s deportation . . .

 is not within the complete control or discretion of the United States Attorney’s

 Office”).

        Nevertheless, the Court is not convinced by the Government’s efforts to

 distance itself from the Government.      The reason is that the DHS’s ultimate

 response was limited to what it was, in its view, legally compelled to do with Mr.

 Roblero if it obtained custody of him. Here, the DOJ, which had custody of Mr.



                                          14
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 15 of 23         PageID #: 720




 Roblero at the time, asked the DHS, which would obtain custody after the scheduled

 deposition, not to deport him. The DHS denied the prosecutor’s request because it

 interpreted that request as contrary to the DHS’s legal obligations. But the DHS

 did not presume to dictate to the United States Attorney’s Office what course to

 follow if Mr. Roblero remained DOJ custody. In fact, both DHS Assistant Chief

 Counsel Jalelian and DHS Agent-in-Charge Lana expressly informed AUSA Casey

 that DHS’s obligation to deport Mr. Roblero attached only if he was in DHS custody.

 Gov’t’s Mot. Attach. 2 Email from Lincoln S. Jalelian to Ass’t U.S. Att’y Casey (May

 9, 2013) (Jalelian Email) (“Were Roblero to be held pursuant to a Federal material

 warrant and be held in the custody of the US Marshal[]s [S]ervice, Roblero would

 not be in our custody and not able to be removed”); id. Attach. 4 Letter from Michael

 C. Lana to Joel Casey, AUSA, at 2 (May 17, 2013) (Lana Letter) (“It is my

 understanding that an appropriate and frequently used mechanism for prosecutors

 to keep an individual, such as Mr. Roblero in the United States, and available for

 the September 2013 trial is a Material Witness Warrant”).

       Fourth and most critically, ignoring the DHS’s advice, the Government failed

 to seek a material witness warrant. As the McKeeve Court observed, the “standard

 test for unavailability is whether the witness’s attendance could be procured ‘by

 process or other reasonable means.’” McKeeve, 131 F.3d at 9 (quoting FED. R. EVID.

 804(a))5)). Here, as he was being deported to Mexico, the Government handed Mr.

 Roblero a trial subpoena, knowing that once he crossed the United States border it

 would be ineffective. See Gov’t’s Mot. for Leave to Depose Prosective Witness at 3



                                          15
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 16 of 23                   PageID #: 721




 (ECF No. 86) (“It is unlikely that [Mr. Roblero] will be available to testify at trial, as

 he will be deported back to Mexico and outside the scope of the Court’s subpoena

 authority”).    For whatever reason, the Government did not pursue what was

 potentially the most effective “process” to assure Mr. Roblero’s presence at trial.

        The Government resolved not to follow DHS’s suggestions and attempt to

 obtain a material witness subpoena, despite DHS’s warning to the prosecution that

 it would be “our task” to deport Mr. Roblero if he returned to DHS custody. The

 prosecution’s decision not to attempt to continue to detain Mr. Roblero as material

 witness makes it more difficult for the Government to sustain its burden to

 demonstrate that it has met “the duty to use reasonable means to prevent a present

 witness from becoming absent.” Mann, 590 F.2d at 368. The Government’s decision

 not to act is surprising because the Government had moved for and obtained an

 Order of Detention on April 4, 2013, detaining Mr. Roblero as a material witness

 until the May 14, 2013 deposition. Order of Detention (ECF No. 125). In fact, Mr.

 Roblero consented to the detention.          Id. at 1.   Thus, the DOJ was holding Mr.

 Roblero as a material witness and, once he was deposed, it failed even to attempt to

 maintain his detention.2



 2       The Government moved to depose Mr. Roblero on February 20, 2013. Mot. for Leave to
 Depose Prospective Witness (ECF No. 86). At that point, according to the Government, Mr. Roblero
 was in state custody in Indiana. Id. at 2. The Government applied for a material witness warrant
 for Mr. Roblero on February 22, 2013, Ex Parte Application for Material Witness Warrant (ECF No.
 87), and the Court issued a warrant that same day. Warrant for the Arrest of a Witness (ECF No.
 88). Most of the Defendants opposed the Government’s motion to depose, ECF Nos. 96, 98, 101, 104;
 however, on March 22, 2013, Magistrate Judge Kravchuk granted the motion. Order (ECF No. 114).
         Meanwhile, the state of Indiana released Mr. Roblero, presumably on March 3, 2013. See Ex
 Parte Application for Material Witness Warrant ¶ 2. By the time the Magistrate Judge issued her
 order allowing the deposition on March 22, 2013, the Government represented that Mr. Roblero was
 in federal custody. See Order at 2 & n.2 (ECF No. 114). On April 3, 2013, the Government moved to

                                                16
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 17 of 23                        PageID #: 722




        The Government posits two defenses for its failure to move for a material

 witness warrant: (1) the material witness warrant was available to the Defendants

 and they elected not to pursue it and (2) an application for Mr. Roblero’s continued

 detention from May to September would likely have been denied.3                          The Court

 rejects the Government’s argument that because any party may seek the detention

 of a material witness, it is the Defendants who should have moved to detain the

 Government’s witness. Gov’t’s Mot. at 5. This contention ignores the fundamental

 tenet of criminal law that the defense bears no burden of proof and is not required

 to produce any witnesses. See Judge D. Brock Hornby’s 2013 Revisions to Pattern

 Criminal Jury Instructions for the District Courts of the First Circuit § 3.02

 (updated Jun. 26, 2013) (“[Defendant] has the right to rely upon the failure or

 inability of the government to establish beyond a reasonable doubt any essential

 element of a crime charged against [him/her]”).                  The Government presents no


 detain Mr. Roblero “pending deposition,” Mot. for Detention of Material Witness (ECF No. 121), and
 the Magistrate Judge granted that motion on April 4, 2013. Order of Detention (ECF No. 125).
         It appears that the DOJ turned Mr. Roblero over to the DHS either on May 14, 2013, the
 date of the deposition, or early on May 15, 2013. See Jalelian Letter at 2. On May 15, 2013, AUSA
 Casey indicated in his letter to Agent Lana that Mr. Roblero was “in the custody of . . . DHS.” Gov’t’s
 Mot. Attach. 3 Letter from AUSA Joel Casey to RAC Lana, at 1 (ECF No. 208) (May 15, 2013). But
 Mr. Roblero was in DOJ custody as of May 9, 2013, when AUSA Casey wrote to Mr. Jalelian,
 Jalelian Email at 2, when Mr. Jalelian informed AUSA Casey that the DHS would deport Mr.
 Roblero if he were in DHS’s custody. Id.
 3       The Government does not claim that because the Court allowed Mr. Roblero’s videotape
 deposition to go forward, the Court must permit its introduction into evidence at trial. In its Order
 Overruling Malcolm French’s Objection to the Magistrate Judge’s Order Regarding Deposition, the
 Court wrote:

        The Government should be aware that if it deports Mr. Roblero before trial, the
        Court will be required to demonstrate that he is “unavailable as a witness” before his
        deposition testimony may be admitted. FED. R. EVID. 804(a). Whether it will be able
        to make that showing if it deports Mr. Roblero is an open question.

 Order Overruling Malcolm French’s Objection to the Magistrate Judge’s Order Regarding Dep. at 17
 (ECF No. 142).

                                                   17
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 18 of 23                       PageID #: 723




 authority and the Court is aware of none for the novel proposition that a defendant

 is under an obligation to produce a Government witness for testimony in order to

 secure the Sixth Amendment right of confrontation. The Government’s argument

 also runs contrary to Federal Rule of Evidence 804(a)(5), which places the burden to

 demonstrate unavailability on the statement’s proponent, not on the opponent.

        It is true that the Magistrate Judge raised “substantial constitutional and

 procedural concerns with holding in custody for a prolonged period of time a

 material witness who is not charged with any crime in connection with these

 events.” Order at 3-4. It is also true that statutory law circumscribes the Court’s

 authority to detain a material witness. 18 U.S.C. § 3144; United States v. Nai, 949

 F. Supp. 42, 44 (D. Mass. 1996). At the same time, § 3144 allows for continued

 detention if “necessary to prevent a failure of justice,” and the Confrontation Clause

 and evidentiary arguments that the Defendants have raised may have made the

 case for such a failure. How § 3144 would have applied, if at all, in this case is

 speculative, again because the Government did not invoke its provisions.

        The Government relies on Aguilar-Ayala v. Ruiz, 973 F.2d 411, 419-20 (5th

 Cir. 1992) in support of the proposition that “undocumented aliens have an

 overriding liberty interest in not being detained as material witnesses, when the

 deposition procedure serves as an adequate alternative to prolonged detention.”

 Gov’t’s Mot. at 6.       But a careful reading of Aguilar-Ayala indicates why the

 Government’s request here must fail.4             In Aguilar-Ayala, the Fifth Circuit was


 4       In Aguilar-Ayala, the Fifth Circuit cites United States v. Guadian-Salazar, 824 F.2d 344 (5th
 Cir. 1987) in which the Court vacated a conviction based in part of the admission into evidence of

                                                  18
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 19 of 23                  PageID #: 724




 addressing an application from detained alien witnesses seeking to be released

 pursuant to 18 U.S.C. § 3144. Aguilar-Ayala, 973 F.2d at 414. The statute places

 the burden on the movant to demonstrate that his “testimony can adequately be

 secured by deposition” and that “further detention is not necessary to prevent a

 failure of justice.” Id. at 413 (quoting 18 U.S.C. § 3144). “Absent a ‘failure of

 justice’, the witness must be released.” Id. The Fifth Circuit described in detail the

 ramifications of the admission of deposition testimony at a criminal trial:

        While we make no attempt to catalog any or all of the possible
        justifications which might warrant continued detention, we note that
        in some cases the need for the criminal defendant to confront the
        witness at trial (rather than at deposition) might outweigh the
        material witness' liberty interest in being released immediately. No
        doubt, few defendants regard trial by deposition as an adequate
        substitute for confronting the witness in the presence of the jury. Only
        through live cross-examination can the jury fully appreciate the
        strength or weakness of the witness' testimony, by closely observing
        the witness' demeanor, expressions, and intonations. Videotaped
        deposition testimony, subject to all of the rigors of cross-examination,
        is as good a surrogate for live testimony as you will find, but it is still
        only a substitute. Even the advanced technology of our day cannot
        breathe life into a two-dimensional broadcast.

        Trial by deposition steps hard on the right of criminal defendants to
        confront their accusers. To be sure, deposition testimony is not
        routinely admissible: Only upon the exceptional showing of necessity
        (i.e., unavailability) will a court be justified in admitting such
        testimony over the defendant's objection. When a particular witness'
        testimony is the linchpin of the government's case, or when the
        witness' credibility is severely in doubt, the continued detention of that
        witness might be necessary to avert a "failure of justice," especially if
        the continued detention would be relatively brief.



 deposition testimony over the objection of the defendant. In that case, the Government conceded
 that it had made no showing that the alien witnesses were unavailable. Id. at 346-48 (“The
 government asserts that . . . the admission into evidence of the depositions offended the sixth
 amendment's confrontation clause. . . . The government concludes that the defendant's conviction
 should be reversed”).

                                               19
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 20 of 23           PageID #: 725




 Id. at 419 (emphasis in original).

       To the Fifth Circuit concern about “stepping hard” on the Confrontation

 Clause, this Court adds that any trial takes on a life of its own. Even the best

 prepared lawyer must adjust tactics to respond to the opponent’s presentation, to

 respond to unexpected testimony, to court rulings (favorable or not), jury

 composition, and even to such subtle matters as the tone of the trial, the lawyer’s

 perception of juror receptivity, the apparent emotional impact of prior testimony,

 the hour in the day when the witness testifies, and a host of other tactical decisions

 that cannot be accurately assessed in advance.         A videotaped deposition freezes

 testimony based on the lawyer’s best but cloudy judgment and it is virtually

 inevitable that a videotaped deposition will be stale by the time it is shown to a

 jury. There will be questions asked at deposition that would not have been asked at

 trial and questions not asked that would be; questioning will be too long or too

 short; questions will explore areas that will be repetitive in light of already

 introduced trial testimony; questions will skip over areas that seemed insignificant

 at the time of the deposition but that have become vital at the time of trial; trial

 testimony will differ from what was anticipated pretrial. The list goes on. These

 and other considerations reinforce the wisdom of the Confrontation Clause and the

 constraints of Rule 804(b)(1). With these issues in mind, it is by no means certain

 that the Aguilar-Ayala Court would have countenanced the admission into evidence

 of prior testimony of a deported alien without any attempt by the Government to

 detain the alien using the material witness process.



                                          20
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 21 of 23       PageID #: 726




       It is also true that a request for continued detention under material witness

 warrant may have failed. E.g., In re Grand Jury Proceedings, No. 10-mj-57-P-JHR,

 2010 U.S. Dist. LEXIS 144359 (D. Me. Apr. 16, 2010). But it may have succeeded—

 and the Government did not try.     For this reason, it is unknown whether Mr.

 Roblero would have objected to continued detention or some form of supervision and

 whether legitimate public safety concerns about Mr. Roblero’s criminal conduct

 would have been ameliorated. In Aguilar-Ayala, the Fifth Circuit observed that the

 Government—as opposed to a defendant—“is uniquely capable of taking reasonable

 measures to insure that the witness will appear at trial.” Aguilar-Ayala, 973 F.2d

 at 419. For example, the Fifth Circuit suggested that the Government may “‘parole’

 the alien-witness into the community (rather than deport him) so that he will

 remain within the reach of judicial process.” Id. Furthermore, the Government

 entered into an immunity agreement with Mr. Roblero and the record is silent as to

 whether the Government attempted to negotiate something short of his immediate

 deportation. There is no evidence that the Government attempted any of these

 “reasonable measures” to detain Mr. Roblero. Id. at 418. Instead the Government

 simply handed Mr. Roblero over to DHS with the sure knowledge that DHS would

 deport him and that, once deported, Mr. Roblero would be beyond the subpoena

 authority of the Court.

       By failing to seek Mr. Roblero’s continued detention, the Government

 effectively prevented timely judicial consideration of whether Mr. Roblero should

 have been detained from May to September.       Those considerations would have



                                         21
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 22 of 23                        PageID #: 727




 included: (1) the length of continued detention, (then from May 14, 2013 to

 September 5, 2013, a period of about sixteen weeks);5 (2) the significance of his

 testimony; (3) the centrality of his credibility; (4) areas of potential cross-

 examination not explored at the time of his videotaped deposition; (5) the conditions

 of his confinement; (6) any feasible alternatives to confinement, such as electronic

 monitoring or community confinement; and (7) Martin Roblero’s position on his

 continued detention.6

        In its reply, the Government concludes that by objecting to the admission of

 Mr. Roblero’s videotape, the Defendants are accusing the Government of acting in

 bad faith.      Gov’t’s Reply at 1 (“[French makes] a related argument that the

 Government acted in ‘bad faith’”).                The Court does not conclude that the

 Government acted in bad faith—only that the Government did not bear its burden

 to demonstrate that it met the “relatively high good faith standard.” Mann, 590

 F.2d at 367. In Mann, the First Circuit presented a helpful formulation of the

 question: even though the Government may be “satisfied with what is in the

 transcript,” the Government is still obligated to make “as vigorous an attempt to

 secure the presence of the witness as it would have made if it did not have the prior

 recorded testimony.”        Id.    If the Government did not have Mr. Roblero’s prior

 5        After Mr. Roblero was out of the Country, the Defendants moved to continue the case until
 January 2014. See Def. Robert Berg’s Mot. to Continue Case from the Trial List (ECF No. 166). By
 the time the Defendants made this motion, however, was after Mr. Roblero had been returned to
 Mexico when he was beyond the reach of a federal court subpoena. The Defendants had no reason to
 balance their need for the four-month continuance against the desirability of having Mr. Roblero
 testify live before a jury in September.
 6        Typically, it is reasonable to assume that someone confined in prison would prefer to be free.
 Certainly this may have been true for Mr. Roblero. At the same time, Mr. Roblero entered into
 custody without objection and it could have been that he would not have objected to continued
 detention (or some lesser form of monitoring) from May to September before deportation.

                                                   22
Case 1:12-cr-00160-JAW Document 266 Filed 01/06/14 Page 23 of 23                         PageID #: 728




 recorded testimony, the Court is convinced that the Government would have sought

 a material witness warrant and tried to secure his continued detention.7

 V.     CONCLUSION

        The Court DENIES the Government’s Motion in Limine Re: Admissibility of

 Deposition of Martin Roblero (ECF No. 208).

        SO ORDERED.



                                        /s/ John A. Woodcock, Jr.
                                        JOHN A. WOODCOCK, JR.
                                        CHIEF UNITED STATES DISTRICT JUDGE

 Dated this 6th day of January, 2014




 7       To close the circle, having resolved the motion on the issue of unavailability, the Court does
 not reach whether the Government fulfilled the second criteria for admission under Rule
 804(b)(1)(B): that the evidence must be “against a party who had . . . an opportunity and similar
 motive to develop it by . . . cross-. . . examination.” Here, the Defendants complain that
 developments after the deposition deprived them of the opportunity to cross-examine Mr. Roblero on
 a vital matter. French Opp’n at 7. The Court is not in a position to make a pretrial determination of
 the impact, if any, of the newly discovered evidence on Mr. Roblero’s testimony. Had the Court
 concluded that Mr. Roblero was available under Rule 804(b)(1), it would have deferred ruling on the
 admissibility of the Roblero deposition until trial to allow an assessment of the practical significance
 of the new information. But the Court determined that the Roblero deposition is inadmissible
 because the Government has not shown that he is unavailable, and does not rule on the “opportunity
 and motive” criterion.

                                                   23
